  Case 18-12974-BFK                     Doc 9 Filed 09/02/18 Entered 09/03/18 00:26:58                                   Desc Imaged
                                             Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1              Jeffrey D. Pattock                                                Social Security number or ITIN        xxx−xx−7568
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2              Nadine R. Pattock                                                 Social Security number or ITIN        xxx−xx−8595
(Spouse, if filing)
                      First Name   Middle Name   Last Name                              EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Virginia
                                                                                        Date case filed for chapter 7 8/30/18
Case number:          18−12974−BFK


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                        About Debtor 2:

1.     Debtor's full name                    Jeffrey D. Pattock                                     Nadine R. Pattock

2.     All other names used in the
       last 8 years

3.     Address                               47 Liberty Knolls Drive                                 47 Liberty Knolls Drive
                                             Stafford, VA 22554                                      Stafford, VA 22554

4.     Debtor's attorney                     Robert R. Weed                                         Contact phone (703) 335−7793
       Name and address                      Law Offices Of Robert Weed                             Email: robertweedlaw@yahoo.com
                                             1376 Old Bridge Rd
                                             Suite 101−4
                                             Woodbridge, VA 22192

5.     Bankruptcy trustee                    Janet M. Meiburger                                     Contact phone 703−556−9404
       Name and address                      The Meiburger Law Firm, P.C.                           Email: trustee@meiburgerlaw.com
                                             1493 Chain Bridge Road, Suite 201
                                             McLean, VA 22101−5726
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                              Certificate of Notice Page 2 of 5
Debtor Jeffrey D. Pattock and Nadine R. Pattock                                                               Case number 18−12974−BFK


6. Bankruptcy clerk's office                     200 South Washington Street                            For the Court:
                                                 Alexandria, VA 22314
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: August 31, 2018
    www.pacer.gov.                         Contact phone 703−258−1200
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          September 27, 2018 at 12:00 PM                         Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         1725 Duke Street, Suite 520,
    questioned under oath. In a joint case,                                                             Alexandria, VA 22314
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: November 26,
                                               to challenge whether certain debts are                   2018
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
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Debtor Jeffrey D. Pattock and Nadine R. Pattock                                                                Case number 18−12974−BFK


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                       that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                       The bankruptcy clerk's office must receive the objection by the deadline to object to
                                       exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Exact Change Only accepted as of December 16, 2013, for payment of fees and services.
    Alexandria Case and                Payment may be made by non−debtor's check, money order, cashier's check made payable
    Adversary Filing and               to Clerk, U.S. Bankruptcy Court, or any authorized non−debtor's credit card.
    Miscellaneous Requests
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
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                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                  Case No. 18-12974-BFK
Jeffrey D. Pattock                                                                      Chapter 7
Nadine R. Pattock
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0422-9           User: huntingto              Page 1 of 2                   Date Rcvd: Aug 31, 2018
                               Form ID: 309A                Total Noticed: 43


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 02, 2018.
db/jdb         +Jeffrey D. Pattock,    Nadine R. Pattock,     47 Liberty Knolls Drive,    Stafford, VA 22554-8582
14513731       +Alltran Financial Express Co,     PO Box 722929,    Houston, TX 77272-2929
14513735       +Chase Auto,    PO Box 901003,    Fort Worth, TX 76101-2003
14513738       +Citizen Auto Finance,    480 Jefferson Blvd,     Warwick, RI 02886-1359
14513742       +Diversified Consultants Inc,     PO Box 1391,    Southgate, MI 48195-0391
14513744       +Fidelity Bank,    3 Corporate Sq NE Ste 110,     Atlanta, GA 30329-2030
14513751        IRS Centralized Insolvency OP 1 of 3,     Po Box 7436,    Philadelphia, PA 19101-7436
14513752       +IRS Hon. Jeff Session 3 of 3,     10th St & Constitution Ave NW, Rm 6313,
                 Washington, DC 20530-0001
14513750       +IRS c/o US Attorney 2 of 3,     2100 Jamieson Ave,    Alexandria, VA 22314-5794
14513745       +Inova Dept of Medicine,    3300 Gallows Rd.,     Falls Church, VA 22042-3307
14513746       +Inova Exec Health Sub Machine,     3300 Gallows Rd.,    Falls Church, VA 22042-3307
14513748       +Inova Medcial Group Cardiology,     3650 Joseph Siewick Dr Ste 204,     Fairfax, VA 22033-1712
14513749       +Inova Traumatology & General Surgery,     3300 Gallows Rd.,    Falls Church, VA 22042-3307
14513754       +Maria Delgado,    6722 Spring Forest St,    San Antonio, TX 78249-2901
14513755       +Mary Washington Healthcare,     2300 Fall Hill Ave. 101,    Fredericksburg, VA 22401-3342
14513756       +Mary Washington Hospital,     1001 Sam Perry Blvd,    Fredericksburg, VA 22401-4453
14513757       +Moxie Pest Control,    14301 Sullyfield Cir Ste G,     Chantilly, VA 20151-1630
14513758       +Nationstar Mortgage/Mr. Cooper,     8950 Cypress Waters Blvd,    Coppell, TX 75019-4620
14513759       +Navy Federal Credit Union,     PO Box 3700,    Merrifield, VA 22119-3700
14513760       +ODC Recovery/Mary Washington,     2300 Fall Hill Ave Ste 314,    Fredericksburg, VA 22401-3343
14513761       +Pennymac Loan Svcs,    PO Box 514387,    Los Angeles, CA 90051-4387
14513762       +Radiologic Associates of Fredericksburg,      4718 Carr Dr,   Fredericksburg, VA 22408-2686
14513763       +Rafael Patino,    6722 Spring Forest St,    San Antonio, TX 78249-2901
14513764       +Sunrise Credit Services,    PO Box 9100,    Farmingdale, NY 11735-9100
14513765       +Sunrise Credit Svcs/AT&T,     234 Airport Plaza Blvd, Ste 4,    Farmingdale, NY 11735-3938
14513766       +Tajammul Ehsan MD,    8622 Lee Hwy C,    Fairfax, VA 22031-2148
14513768       +Trinity Wiring & Monitoring,     8610 Virginia Meadows Dr,    Manassas, VA 20109-7819
14513769        Trugreen,   1790 Kirby Pkwy Ste 300,     Memphis, TN 38138-7411
14513770       +Virginia Cardiovascular Consultants PC,     1201 Sam Perry Blvd Ste 280,
                 Fredericksburg, VA 22401-8400

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: robertweedlaw@yahoo.com Sep 01 2018 02:31:16       Robert R. Weed,
                 Law Offices Of Robert Weed,    1376 Old Bridge Rd,   Suite 101-4,    Woodbridge, VA 22192
tr              EDI: BJMMEIBURGER.COM Sep 01 2018 06:18:00      Janet M. Meiburger,
                 The Meiburger Law Firm, P.C.,    1493 Chain Bridge Road, Suite 201,    McLean, VA 22101-5726
14513733       +EDI: CINGMIDLAND.COM Sep 01 2018 06:19:00      AT&T,   PO Box 536216,     Atlanta, GA 30353-6216
14513732       +EDI: AMEREXPR.COM Sep 01 2018 06:19:00      American Express,    PO Box 981537,
                 El Paso, TX 79998-1537
14513734       +EDI: CAPITALONE.COM Sep 01 2018 06:20:00      Capital One,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
14513736       +EDI: CHASE.COM Sep 01 2018 06:19:00      Chase Card,   PO Box 15298,    Wilmington, DE 19850-5298
14513737       +EDI: CITICORP.COM Sep 01 2018 06:19:00      Citi Cards/Citibank,    PO Box 6241,
                 Sioux Falls, SD 57117-6241
14513739       +E-mail/Text: collect@ccsroanoke.com Sep 01 2018 02:32:53       Creditors Collection Service,
                 PO BOX 21504,   Roanoke, VA 24018-0152
14513741        EDI: DISCOVER.COM Sep 01 2018 06:19:00      Discover Financial Services,     PO Box 15316,
                 Wilmington, DE 19850
14513740       +E-mail/Text: DMCCO.VBASPL@va.gov Sep 01 2018 02:32:59       Dept of Veterans Affairs,
                 PO Box 11930,   Saint Paul, MN 55111-0930
14513743       +E-mail/Text: lakeicia.morgan@frcpc.org Sep 01 2018 02:32:34
                 Fairfax Radiological Consultants PC,    2722 Merrilee Dr. Ste 230,    Fairfax, VA 22031-4416
14513747       +E-mail/Text: BANKRUPTCY@INOVA.ORG Sep 01 2018 02:32:09       Inova Fairfax Hospital,
                 3300 Gallows Rd.,    Falls Church, VA 22042-3300
14513753       +EDI: CBSKOHLS.COM Sep 01 2018 06:19:00      Kohls/CapOne,    PO Box 3115,
                 Milwaukee, WI 53201-3115
14513767       +E-mail/Text: bankruptcydepartment@tsico.com Sep 01 2018 02:32:55       Transworld Systems,
                 9525 Sweet Valley Dr Bldg A,    Valley View, OH 44125-4237
                                                                                               TOTAL: 14

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 309A                      Total Noticed: 43


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 02, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 31, 2018 at the address(es) listed below:
              Janet M. Meiburger   trustee@meiburgerlaw.com, VA41@ecfcbis.com
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
              Robert R. Weed   on behalf of Joint Debtor Nadine R. Pattock robertweedlaw@yahoo.com,
               atty_robertweedcases@trustesolutions.com;Rvnotices@gmail.com;robertweedcases@gmail.com;LawOffices
               OfRobertWeed@jubileebk.net
              Robert R. Weed   on behalf of Debtor Jeffrey D. Pattock robertweedlaw@yahoo.com,
               atty_robertweedcases@trustesolutions.com;Rvnotices@gmail.com;robertweedcases@gmail.com;LawOffices
               OfRobertWeed@jubileebk.net
                                                                                            TOTAL: 4
